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   John Aulbach
 8

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10
                                  UNITED STATES DISTRICT COURT
11
              NORTHERN DISTRICT OF CALIFORNIA — SAN FRANCISCO DIVISION
12

13
     JOHN AULBACH                                       Federal Case No.: 3:16-CV-05717-RS
14
                    Plaintiff,
15
            vs.                                         STIPULATED REQUEST FOR
16                                                      DISMISSAL OF DEFENDANT EQUIFAX,
     EQUIFAX, INC.; et. al.,                            INC.; [PROPOSED] ORDER
17
                    Defendants.
18

19
     TO THE COURT, CLERK OF COURT, AND ALL PARTIES:
20
            IT IS HEREBY STIPULATED by and between plaintiff John Aulbach and defendant
21
     Equifax, Inc. (“Equifax”), that Equifax be dismissed from this action with prejudice pursuant to
22
     Federal Rules of Civil Procedure, section 41(a)(2), and that each party shall bear its own
23
     attorneys’ fees and costs.
24
     //
25
     //
26
     //
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          STIPULATED REQUEST FOR DISMISSAL OF DEFENDANT EQUIFAX, INC.; [PROPOSED] ORDER
         Case 3:16-cv-05717-RS Document 60 Filed 09/18/17 Page 2 of 2



 1 DATED: September 18, 2017                    Sagaria Law, P.C.

 2                                              By:          /s/ Elliot W. Gale
 3                                                                    Elliot W. Gale
                                                Attorneys for Plaintiff
 4                                              John Aulbach
 5
     DATED: September 18, 2017                  Nokes & Quinn
 6

 7

 8                                              By:           /s/ Thomas P. Quinn, Jr.
                                                                   Thomas P. Quinn, Jr.
 9
                                                Attorneys for Defendant
10                                              Equifax, Inc.

11
     I, Elliot Gale, am the ECF user whose identification and password are being used to file this
12
     Stipulation. I hereby attest that Thomas P. Quinn, Jr. has concurred in this filing.
13
     /s/ Elliot Gale
14

15
                                               [PROPOSED] ORDER
16
            Pursuant to the stipulation of the Parties, Equifax is dismissed with prejudice, and that each
17
     party shall bear its own attorneys’ fees and costs.
18
            IT IS SO ORDERED.
19

20
     DATED: 9/18/17
21                                                 RICHARD SEEBORG
                                                   UNITED STATES DISTRICT JUDGE
22

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          STIPULATED REQUEST FOR DISMISSAL OF DEFENDANT EQUIFAX, INC.; [PROPOSED] ORDER
